Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 1 of 90. PageID #: 5




                                                                    Exhibit A
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 2 of 90. PageID #: 6
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 3 of 90. PageID #: 7
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 4 of 90. PageID #: 8
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 5 of 90. PageID #: 9
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 6 of 90. PageID #: 10
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 7 of 90. PageID #: 11
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 8 of 90. PageID #: 12
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 9 of 90. PageID #: 13
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 10 of 90. PageID #: 14
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 11 of 90. PageID #: 15
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 12 of 90. PageID #: 16
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 13 of 90. PageID #: 17
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 14 of 90. PageID #: 18
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 15 of 90. PageID #: 19
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 16 of 90. PageID #: 20
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 17 of 90. PageID #: 21
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 18 of 90. PageID #: 22
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 19 of 90. PageID #: 23
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 20 of 90. PageID #: 24
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 21 of 90. PageID #: 25
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 22 of 90. PageID #: 26
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 23 of 90. PageID #: 27
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 24 of 90. PageID #: 28
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 25 of 90. PageID #: 29
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 26 of 90. PageID #: 30
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 27 of 90. PageID #: 31
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 28 of 90. PageID #: 32
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 29 of 90. PageID #: 33
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 30 of 90. PageID #: 34
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 31 of 90. PageID #: 35
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 32 of 90. PageID #: 36
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 33 of 90. PageID #: 37
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 34 of 90. PageID #: 38
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 35 of 90. PageID #: 39
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 36 of 90. PageID #: 40
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 37 of 90. PageID #: 41
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 38 of 90. PageID #: 42
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 39 of 90. PageID #: 43
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 40 of 90. PageID #: 44
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 41 of 90. PageID #: 45
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 42 of 90. PageID #: 46
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 43 of 90. PageID #: 47
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 44 of 90. PageID #: 48
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 45 of 90. PageID #: 49
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 46 of 90. PageID #: 50
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 47 of 90. PageID #: 51
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 48 of 90. PageID #: 52
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 49 of 90. PageID #: 53
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 50 of 90. PageID #: 54
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 51 of 90. PageID #: 55
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 52 of 90. PageID #: 56
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 53 of 90. PageID #: 57
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 54 of 90. PageID #: 58
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 55 of 90. PageID #: 59
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 56 of 90. PageID #: 60
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 57 of 90. PageID #: 61
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 58 of 90. PageID #: 62
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 59 of 90. PageID #: 63
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 60 of 90. PageID #: 64
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 61 of 90. PageID #: 65
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 62 of 90. PageID #: 66
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 63 of 90. PageID #: 67
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 64 of 90. PageID #: 68
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 65 of 90. PageID #: 69
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 66 of 90. PageID #: 70
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 67 of 90. PageID #: 71
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 68 of 90. PageID #: 72
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 69 of 90. PageID #: 73
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 70 of 90. PageID #: 74
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 71 of 90. PageID #: 75
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 72 of 90. PageID #: 76
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 73 of 90. PageID #: 77
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 74 of 90. PageID #: 78
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 75 of 90. PageID #: 79
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 76 of 90. PageID #: 80
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 77 of 90. PageID #: 81
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 78 of 90. PageID #: 82
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 79 of 90. PageID #: 83
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 80 of 90. PageID #: 84
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 81 of 90. PageID #: 85
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 82 of 90. PageID #: 86
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 83 of 90. PageID #: 87
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 84 of 90. PageID #: 88
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 85 of 90. PageID #: 89
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 86 of 90. PageID #: 90
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 87 of 90. PageID #: 91
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 88 of 90. PageID #: 92
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 89 of 90. PageID #: 93
Case: 1:18-cv-00548-SO Doc #: 1-1 Filed: 03/09/18 90 of 90. PageID #: 94
